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UNITED STATES nlsTRICT CoURT FHM W\*“ as
WESTERN DISTRICT oF TENNESSEE ,T hl_ k
WEsTERN DlesION "J'i’ ' ‘-'t-t d r) Pr§ E: 21
NATIoNAL HERITAGE REALTY, INC.
Plaintiff,
CIvIL AcTIoN CASE
v. No. 04-2659

MID-S()UTH ASSOCIATES, LLC,

Defendant.

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ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL
lt appearing to the Court that Plaintiff National Heritage Realty, Inc.’s Motion to allow its
Georgia counsel, Christoper P. Galanek, Ryan T. Pumpian, and ]amie Heisler Ibrahim, of the law
firm of Powell Goldstein, LLP, to Withdraw as attorneys of record in this cause is well taken and
should be granted;
IT IS, TI-[EREFORE, ORDERED, ADJUDGED, AND DECREED that Plaintiff National
Heritage Realty, Inc.’s Motion to allow Christopher P. Galanek, Ryan T. Purnpian, and Jarnie

Heisler Ibrahim to withdraw as Counsel of record is hereby granted

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DATE l f

 

This document entered on the docket sheet in compliance
with Ru‘.e 58 and/ur 79(3) FRCP on '

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
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Honorable .1. Breen
US DISTRICT COURT

